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                              UNITED STATES DISTRICT COURT
                                        FOR THE                              2121 SEP 25 PH 3: I5
                                  DISTRICT OF VERMONT
                                                                                      CLERK
                                                                              BY      (/ryJ
AMERICAN CABLE ASSOCIATION, CTIA                   )                               DfJ1f{ffY CLEM
- THE WIRELESS ASSOCIATION, NCTA-                  )
THE INTERNET & TELEVISION                          )
ASSOCIATION, NEW ENGLAND CABLE                     )
& TELECOMMUNICATIONS                               )
ASSOCIATION, AND USTELECOM - THE                   )
BROADBAND ASSOCIATION, on behalf of                )        Case No. 2:18-cv-167
their members,                                     )
               Plaintiffs,                         )
                                                   )
                  v.                               )
                                                   )
PHILIP B. SCOTT, in his official capacity as       )
the Governor of Vermont; SUSANNE R.                )
YOUNG, in her official capacity as the             )
Secretary of Administration; JOHN J. QUINN )
III, in his official capacity as the Secretary and )
Chief Information Officer of the Vermont           )
Agency of Digital Services; and JUNE E.            )
TIERNEY, in her official capacity as the           )
Commissioner of the Vermont Department of )
Public Service,                                    )
                  Defendants.                      )


              ORDER REGARDING TEMPORARY STAY OF LITIGATION
                 AND INJUNCTION BARRING ENFORCEMENT OF
                   EXECUTIVE ORDER NO. 2-18 AND ACT 169

       Plaintiffs the American Cable Association, CTIA - The Wireless Association, NCTA -

The Internet & Television Association, New England Cable & Telecommunications Association,

and USTelecom- The Broadband Association (collectively, "Plaintiffs"), and Defendants Philip

B. Scott, Susanne R. Young, John J. Quinn III, and June E. Tierney in their official capacities

("Defendants," and collectively with Plaintiffs, the "Parties") have submitted a Stipulation

regarding Temporary Stay of Litigation and Injunction Barring Enforcement of Executive Order
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No. 2-18 and Act 169. Having considered the Stipulation, and good cause appearing, the Court

orders as follows:

        1.      Further proceedings in this action shall be stayed until the later of the following:

(1) the preliminary injunction motions pending in United States v. California, No. 2: 18-cv-

02660-JAM-DB (E.D. Cal.), and American Cable Association v. Becerra, No. 2:18-cv-02684-

JAM-DB (E.D. Cal.) have been decided, or (2) January 20, 2021. In the event that the

preliminary injunction motions have not been resolved by January 30, 2021, the stay shall expire

on that date unless otherwise agreed by the Parties and ordered by the Court.

       2.       Defendants shall be enjoined from taking any action to enforce, or direct the

enforcement of, Executive Order No. 2-18 and Act 169 in any respect until 30 days after the

expiration of the stay and shall not take any future actions to enforce Executive Order No. 2-18

or Act 169 based upon conduct occurring during the period of the stay.

       3.       Plaintiffs shall not seek attorneys' fees based on time spent litigating this action

prior to the dissolution of the stay in accordance with this stipulation.

       4.       The Parties' stipulation shall neither be construed as bearing on the merits of this

action, nor be considered precedent in this or any other matter. Nor shall this order be

considered in the adjudication of any dispositive motions.



IT IS SO ORDERED


       Dated:    7/z..f;/lo
                                                       Hon. Christina Reiss
                                                       U.S. District Court Judge
